                THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       BRYSON CITY DIVISION
                 CRIMINAL CASE NO. 2:11-cr-00022-10


UNITED STATES OF AMERICA,             )
                                      )
                    Plaintiff,        )
                                      )            FINAL
              vs.                     )     ORDER OF FORFEITURE
                                      )
MICHAEL JAMES TAYLOR,                 )
                                      )
              Defendant.              )
_____________________________

         On October 3, 2013, this Court entered a Preliminary Order of

Forfeiture pursuant to 21 U.S.C. ' 853(n) and Fed. R. Crim. P. 32.2(b),

based upon the Defendant=s plea of guilty to Count One of the Bill of

Indictment. In Count One, the Defendant was charged with knowingly and

intentionally combining, conspiring, confederating, and agreeing with other

co-defendants, and others, to possess with intent to distribute a quantity of

methamphetamine, a Schedule II controlled substance, in violation of 21

U.S.C. §§ 841(a)(1) and 846. [Doc. 278].   That Preliminary Order identified

three parcels of real property that the Government had sought to forfeit.

[Id.].

         From October 12, 2012 through November 10, 2012, the United

States posted on an official government internet site (www.forfeiture.gov),


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for at least 30 consecutive days, notice of this forfeiture and of the intent of

the United States to dispose of the forfeited property in accordance with

law, and further notifying all third parties of their right to petition the Court

within thirty days for a hearing to adjudicate the validity of any alleged legal

interest in the property.

      On November 5, 2012, Petitioner Paula V. Wilson (Wilson) filed a

Petition as the holder of a Promissory Note secured by a deed of trust on

one of the three parcels of real property identified in the Preliminary Order,

that being the real property located at 2444 U.S. Highway 441 South (the

Motel Property). [Doc. 288].

      The matter of the Wilson’s Petition was brought on for hearing on

February 7, 2013.    When the matter was called the parties announced that

the issues set out in the claim and Petition of Wilson had been resolved.

The parties tendered to the Court a Settlement Agreement setting out the

terms of their agreement, and the Court then conducted a lengthy colloquy

with counsel regarding the resolution of the issues that were scheduled to

be heard and disposed of on that date.       The United States has also filed

that Settlement Agreement.     [Doc. 326].

      Based upon the representations of the parties and their agreement as

announced to the Court, the Court makes the following findings and


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conclusions. The deed of trust on the Motel Property is valid and secures

the payment on the Promissory Note held by Wilson. That deed of trust is

and constitutes a valid lien on the Motel Property, which lien is an interest in

the real property that is owned by Wilson. Wilson’s interest in the Motel

Property is not subject to forfeiture by the Government as it constitutes “a

legal right, title, or interest in the property” which “was vested in the

petitioner rather than the defendant or was superior to any right, title, or

interest of the defendant at the time of the commission of the acts which

gave rise to the forfeiture of the property.”   21 U.S.C. § 853(n)(6)(A).     The

Preliminary Order of Forfeiture therefore must be amended to delete

therefrom the interest in the Motel Property that is held by Wilson. The

parties have entered into a settlement agreement that is a valid agreement

as to the manner in which the parties will proceed to seek to sell the Motel

Property (both the Taylor interest forfeited to the Government and the

Wilson interest) and distribute the proceeds thereof.

      It appears from the record that no other party has filed a Petition with

regard to any property identified in the Preliminary Order.

      IT IS, THEREFORE, ORDERED that in accordance with Rule

32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as final as to the

following two properties. All right, title, and interest in said properties,


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whether real, personal, or mixed, has therefore been forfeited to the United

States for disposition according to law:

      Real property located at 135 Long Street, Waynesville, Haywood
      County, North Carolina, as more particularly described in a deed
      recorded at book 795, page 673, in the Haywood County, North
      Carolina, public registry; and

      Real property located at 19 Pine Street. Greenville, Greenville
      County, South Carolina, as more particularly described in a deed
      recorded at book 2389, page 2995, in the Greenville County,
      South Carolina, public registry.

      IT IS FURTHER ORDERED that in accordance with Rule 32.2(c)(2),

the Preliminary Order of Forfeiture is confirmed as to the following property

as it pertains to the interest therein of Defendant Taylor, and all right, title,

and interest in said property, whether real, personal, or mixed, has

therefore been forfeited to the United States for disposition according to law,

with the exception that the interest of Petitioner Paula V. Wilson is

confirmed and said interest of Petitioner Paula V. Wilson is hereby removed

from the Preliminary Order of Forfeiture:

      Real property listed at 2444 U.S. Highway 441 South, Sylva,
      Jackson County, North Carolina, as more particularly described
      in a deed recorded at book 1869, page 559, in the Jackson
      County, North Carolina, public registry.

      IT IS SO ORDERED.           Signed: February 22, 2013




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